                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA


                                                     )
U.S. COMMODITY FUTURES TRADING                       )
COMMISSION,                                          )
                   Plaintiff,                        )
                                                     )    No. 13 CV _____________
                       v.                            )
                                                     )
JAMES HARVEY MASON,                                  )
                                                     )
                              Defendant,             )
                                                     )
THE JHM FOREX ONLY POOL (f/k/a THE                   )
JHM FOREX ONLY POOL, LP), and                        )
FOREX TRADING AT HOME,                               )
                                                     )
                              Relief Defendants.     )
                                                     )



         COMPLAINT FOR INJUNCTIVE AND OTHER EQUITABLE RELIEF
          AND PENALTIES UNDER THE COMMODITY EXCHANGE ACT

       The U.S. Commodity Futures Trading Commission (“CFTC” or “Commission”), by and

through its attorneys, hereby alleges as follows:

                                       I.      SUMMARY

       1.      Beginning in at least July 2010, James Harvey Mason (“Mason”) fraudulently

solicited, accepted, and pooled at least $1,500,000 from at least 60 individuals and used the

funds to trade off-exchange foreign currency contracts (“forex”) in two commodity pools, the

JHM Forex Only Pool (f/k/a The JHM Forex Only Pool, LP) (“JHM”) and Forex Trading at

Home (“FTAH”).

       2.      When soliciting and accepting funds for and/or operating the pools, Mason

provided participants and prospective participants with written documents that intentionally or




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recklessly contained materially false and misleading statements and failed to disclose material

facts, including: (a) telling participants they would not lose their principal; (b) claiming that

participants would make outrageous profits, as much as either 340% or 500% annually;

(c) misrepresenting the risk of loss associated with forex trading; and (d) failing to disclose

Mason’s felony wire fraud conviction in connection with the purchase and/or sale of

commodities in 2000. Additionally, Mason appears to have misappropriated at least $600,000 of

pool participants’ funds and used such funds for purposes other than for forex trading. Mason

also failed to register with the Commission as a commodity pool operator.

        3.       By engaging in this conduct and the conduct further described herein, Defendant

has engaged, is engaging, or is about to engage in conduct in violation of the Commodity

Exchange Act (“Act”) 7 U.S.C. §§ 1 et seq. (Supp. IV 2011). Specifically, by cheating or

defrauding pool participants, deceiving or attempting to deceive pool participants, and by

misappropriating participant funds, Defendant has engaged in conduct in violation of Sections

4b(a)(2)(A) and (C) of the Act, 7 U.S.C. §§6b(a)(2)(A), (C) (Supp. II 2009), Sections 4m(1) and

4o(1)(A) and (B) of the Act, 7 U.S.C. §§ 6m(1), and 6o(1)(A), (B) (2006),1 and Commission

Regulation (“Regulation”) 5.3(a)(2), 17 C.F.R. § 5.3(a)(2) (2012).

        4.       Unless restrained and enjoined by this Court, the Defendant is likely to continue

engaging in the acts and practices alleged in this complaint or in similar acts and practices.




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  All Sections of the Act that have been amended, in relevant part, by the Dodd-Frank Wall Street Reform and
Consumer Protection Act of 2010 (“Dodd-Frank Act”), Pub. L. No. 111-203, Title VII (the Wall Street
Transparency and Accountability Act of 2010), §§ 701-774, 124 Stat. 1376 (enacted July 21, 2010), are cited as
follows: “Section x of the Act, 7 U.S.C. § x (Supp. IV 2011).” All Sections of the Act that have been amended, in
relevant part, by the Food, Conservation, and Energy Act of 2008, Pub. L. No. 110-246, Title XIII (the CFTC
Reauthorization Act of 2008 (the “CRA”)), §§ 13102-13204, 122 Stat. 1651 (enacted June 18, 2008), but not by the
Dodd-Frank Act, are cited as follows: “Section x of the Act, 7 U.S.C. § x (Supp. II 2009).” All Sections of the Act
that were neither amended by the CRA nor Dodd-Frank Act in relevant part are cited as follows: “Section x of the
Act, 7 U.S.C. § x (2006).”

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          5.   Accordingly, the Commission brings this action pursuant to Section 6c of the Act,

7 U.S.C. § 13a-1 (2006), to enjoin Defendant’s unlawful acts and practices and to compel his

compliance with the Act. In addition, the Commission seeks restitution, rescission, civil

monetary penalties, disgorgement and such other equitable relief as this Court may deem

necessary or appropriate.

                             II.     JURISDICTION AND VENUE

          6.   This Court has jurisdiction over this action pursuant to Section 6c(a) of the Act,

7 U.S.C. § 13a-1(a) (2006), which authorizes the Commission to seek injunctive relief in the

proper district court of the United States against any person whenever it shall appear to the

Commission that such person has engaged, is engaging, or is about to engage in any act or

practice constituting a violation of the Act or any rule, regulation, or order promulgated

thereunder.

          7.   The Commission has jurisdiction over the forex solicitations and transactions at

issue in this case pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1 (Supp. II 2009), and Section

2(c)(2)(C) of the Act, 7 U.S.C. § 2(c)(2)(C) (Supp. II 2009).

          8.   Venue properly lies with this Court pursuant to Section 6c(e) of the Act, 7 U.S.C.

§ 13a-1(e) (2006), because Defendant transacted business in this District, and acts and practices

in violation of the Act have occurred, are occurring, or are about to occur within this District.

                                        III.   THE PARTIES

          9.   Plaintiff Commodity Futures Trading Commission is an independent federal

regulatory agency that is charged by Congress with administering and enforcing the Act,

7 U.S.C. §§ 1 et seq., and the Regulations promulgated thereunder, 17 C.F.R. §§ 1.1 et seq.

(2012).



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        10.    Defendant James Harvey Mason resides in Graham, North Carolina, and also

has an address and conducts business in Mill Spring, North Carolina. Mason has never been

registered with the Commission in any capacity. In 2000, Mason was convicted of wire fraud in

the District of South Carolina and sentenced to 18 months imprisonment. United States v.

Mason, No. 99-cr-00231-JFA (D.S.C. Feb. 8, 2000), aff’d 41 F. App’x 612 (4th Cir. 2002).

        11.    Relief Defendant The JHM Forex Only Pool (f/k/a The JHM Forex Only Pool,

LP), is a commodity pool with business addresses in Snow Camp, Mill Spring, and

Hendersonville, North Carolina. JHM operates through a maze of interrelated companies

including The JHM Forex Only Pool Irrevocable Trust and JHM Holdings, LLC, all of which are

wholly owned and operated by defendant Mason. JHM has never been registered with the

Commission in any capacity. As a Relief Defendant JHM holds pool participants’ funds in

constructive trust for the participants. Accordingly, plaintiff seeks an order of disgorgement

against JHM of all assets and funds that are directly traceable to Defendant Mason’s unlawful

activities.

        12.    Relief Defendant Forex Trading at Home is a commodity pool with a business

address in Graham, North Carolina. Through a maze of interrelated companies, including “Forex

Trading at Home Association,” “Forex Trading at Home Partners,” and “FTAH Partners,” it is

wholly owned and operated by defendant Mason. Mason also markets a forex trading system

through FTAH. FTAH has never been registered with the Commission in any capacity. As a

Relief Defendant FTAH holds pool participants’ funds in constructive trust for the participants.

Accordingly, plaintiff seeks an order of disgorgement against FTAH of all assets and funds that

are directly traceable to Defendant Mason’s unlawful activities.




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                            IV.    STATUTORY BACKGROUND

       13.     A “commodity pool” is defined in Section 1a(10)(A) the Act, 7 U.S.C. §1a(10)(A)

(Supp. IV 2011), as any investment trust, syndicate, or similar form of enterprise operated for the

purpose of trading commodity interests, including foreign currency agreements, contracts, or

transactions offered to, or entered into with, non-Eligible Contract Participants (“ECPs”).

       14.     An ECP is defined by the Act, in relevant part, as a commodity pool that (a) has

total assets exceeding $5,000,000, and (b) every participant in the commodity pool is otherwise

an eligible contract participant. See Section 1a(18)(A)(iv) of the Act, 7 U.S.C. § 1a(18)(A)(iv)

(Supp. IV 2011). An ECP is further defined by the Act, in relevant part, as an individual who

has amounts invested on a discretionary basis, the aggregate of which is in excess of (a) $10

million, or (b) $5 million and who enters the transaction “to manage the risk associated with an

asset owned or liability incurred, or reasonably likely to be owned or incurred, by the

individual.” See Section 1a(18)(A)(xi) of the Act, 7 U.S.C. § 1a(18)(A)(xi) (Supp. IV 2011).

       15.     A “commodity pool operator” (“CPO”) is defined in Regulation 5.1(d)(1),

17 C.F.R. § 5.1(d)(1) (2012), as any person who operates or solicits funds, securities, or property

for a pooled investment vehicle that is not an ECP as defined in Section 1a(18) of the Act, 7

U.S.C. §1a(18) (Supp. IV 2011), and that engages in retail forex transactions.

       16.     A “participant” is defined in Regulation 4.10(c), 17 C.F.R. § 4.10(c) (2012), as

any person who has any direct financial interest in a commodity pool.

       17.     Regulation 5.1(m), 17 C.F.R. § 5.1(m) (2012) defines a “retail forex transaction”

as any off-exchange agreement, contract or transaction in foreign currency offered to non-ECPs.




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                                         V.      FACTS

       18.     Beginning in at least July 2010 and continuing through at least December 2012,

Mason solicited individuals to become participants in the JHM pool. Mason also permitted and

encouraged other persons to solicit participants in the JHM pool in a manner akin to a multi-level

marketing scheme. Based upon these solicitations, at least 60 individuals invested at least

$1,500,000 with JHM. At least $1,000,000 of these funds were pooled and placed in a forex

trading account in JHM’s name.

       19.     In about September 2012, Mason began to solicit individuals directly to become

participants in the FTAH pool. Mason also permitted and encouraged other individuals to solicit

participants in the FTAH pool. Mason marketed FTAH to at least some participants as a trading

system, but claimed that the funds used to purchase the trading system would be placed in the

FTAH pool and used for forex trading. At least $136,000 of the funds received from FTAH

participants were pooled and placed in a forex trading account in FTAH’s name.

       20.     As described in further detail below, Mason’s forex trading resulted in overall

losses. In addition, from July 2010 to the present, Mason misappropriated at least $600,000 of

pool participants’ funds and used such funds for purposes other than for forex trading.

       A.      Misrepresentations About Risk and Profit

       21.     In written communications with participants in both the JHM or FTAH pools,

Mason made numerous fraudulent misrepresentations and omissions. For example, in a

document styled “Operations Policies” dated June 11, 2012, which Mason sent to JHM pool

participants, Mason represented that he could guarantee participants’ funds, and that participants

should consider his assurances “as a written guarantee” that their funds were protected from loss

by “either the Fund Managers earnings, or future earnings” or other unidentified assets.



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       22.     In an October 4, 2012, email to JHM pool participants, Mason promised

participants that if he lived until September 2013, all participants would be able to withdraw their

pool funds. Implicit in this statement was that participants would not lose any money as a result

of Mason’s trading forex.

       23.     On October 9, 2012, Mason sent an email to JHM participants stating, among

other things, that he could “guarantee 100% of investors personally invested capital.”

       24.     In that same email, Mason provided an attached spreadsheet describing expected

profits from investments for a period of five years. According to this spreadsheet, an investment

of $5000 was expected to grow more than 500% annually, and after five years, the investment

was expected to be worth more than $100 million.

       25.     Mason made similar representations with respect to the FTAH pool. For example,

in a July 26, 2012, email, Mason guaranteed that if purchasers of the trading system marketed

through FTAH lost money within their first 90 days of trading, he would refund the full purchase

price. On September 9, 2012, Mason further represented that his FTAH trading system was so

effective that it would make purchasers “independent” and would help anyone “more than any

education they could ever attain.”

       26.     In an August 29, 2012, email to FTAH participants, Mason promised to grow a

member’s $1,000 deposit through trading activities into a total of $4,400 within a time period of

260 trading days, or one year time frame, equal to a 340% annual return.

       27.      In a biography he provided to participants, Mason described himself as a former

cotton mill manager and owner with over thirty-five years of experience trading commodity

futures and options. Mason did not disclose that in 2000 he was convicted of wire fraud in




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connection with certain cotton transactions, or that he was sentenced to eighteen months in

prison and three years of supervised release.

       28.     Mason knew or recklessly disregarded the fact that the statements in paragraphs

21 through 27 were false. Mason knew or recklessly disregarded the fact that forex trading is

extremely risky and that it is not possible to guarantee investment performance. Mason knew or

recklessly disregarded the fact that it is impossible to predict future trading results or to

guarantee that a particular trading program would result in profits for its user. He also knew or

recklessly disregarded the fact that his forex trading, in fact, was not on the whole profitable, and

that the small profits that he did occasionally obtain were much more modest than the profits he

promised to participants. Mason also knew of his conviction for wire fraud but intentionally

failed to disclose it to participants and prospective participants.

       B.      Misappropriation of Participant Funds

       29.     Mason pooled and placed at least $1,000,000 in participant funds in a forex

trading account in JHM’s name. He pooled and placed at least $136,000 in participant funds in a

forex trading account in FTAH’s name. Between July 2010 and January 2013, Mason lost in the

aggregate over $1,000,000 in realized and unrealized losses in the forex trading accounts he has

controlled. In addition to the over $1.1 million that Mason pooled and placed in the JHM and

FTAH trading accounts, Mason misappropriated at least $600,000 of additional pool

participants’ funds, which were never placed in the forex trading accounts and instead used for

purposes other than for forex trading.

       C.      The Nature of Defendant’s Transactions

       30.     Defendant and Relief Defendants are not financial institutions, registered brokers

or dealers, insurance companies, financial holding companies, or investment bank holding



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companies, nor are they associated persons of financial institutions, registered brokers or dealers,

insurance companies, financial holding companies, or investment bank holding companies.

       31.     Defendant and Relief Defendants and most, if not all, of the participants in the

pools were and are not “eligible contract participants,” as that term is defined in Section 1a(18)

of the Act, 7 U.S.C. § 1a(18) (Supp. IV 2011).

       32.     The forex transactions conducted by Defendant were entered into on a leveraged

or margined basis, and they neither resulted in delivery of actual currency within two days nor

created an enforceable obligation to deliver between a seller and a buyer that had the ability to

deliver and accept delivery, respectively, in connection with their lines of business. Rather, these

forex contracts purportedly remained open from day to day and ultimately were offset without

anyone making or taking delivery of actual currency or facing an obligation to do so.


               VI.    VIOLATIONS OF THE COMMODITY EXCHANGE ACT

                                            COUNT I

                      Violations of Section 4b(a)(2)(A), (C) of the Act:
             Fraud and Misappropriation in Connection with Forex Transactions

       33.     Paragraphs 1 through 32 are realleged and incorporated herein by reference.

       34.     Sections 4b(a)(2)(A) and (C) of the Act, 7 U.S.C. §§ 4b(a)(2)(A), (C) (Supp. II

2009), make it unlawful for any person: (A) to cheat or defraud or attempt to cheat or defraud the

other person; or (C) willfully to deceive or attempt to deceive the other person by any means

whatsoever in regard to any order or contract or the disposition or execution of any order or

contract, or in regard to any act of agency performed, with respect to any order or contract for the

other person, in or in connection with any order to make, or the making of, any contract of sale

of any commodity for future delivery, or other agreement, contract, or transaction subject to



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paragraphs (1) and (2) of Section 5a(g), that is made, or to be made, for or on behalf of, or with,

any other person, other than on or subject to the rules of a designated contract market.

       35.     Pursuant to Section 2(c)(2)(C)(iv) of the Act, 7 U.S.C. § 2(c)(2)(C)(iv) (Supp. II

2009), Section 4b of the Act applies to Mason’s forex transactions “as if” they were a contract of

sale of a commodity for future delivery.

       36.     Beginning in at least July 2010, Mason violated Section 4b(a)(2)(A) and (C) of

the Act, in that he cheated or defrauded, or attempted to cheat or defraud, and willfully deceived,

or attempted to deceive, pool participants by, inter alia, misappropriating pool participants’

funds, misrepresenting the profits and risks of forex trading and that a system he developed could

generate guaranteed profits, and by failing to disclose his own criminal conviction for wire fraud.

       37.     Mason engaged in the acts and practices described above willfully or with

reckless disregard for the truth.

       38.     Each misappropriation of funds and each material misrepresentation or omission,

including, but not limited to, those specifically alleged herein, is alleged as a separate and

distinct violation of Section 4b(a)(2)(A) and (C) of the Act.

                                            COUNT II

                        Violations of Section 4o(1)(A) and (B) of the Act:
                                        Fraud by a CPO

       39.     Paragraphs 1 through 32 are realleged and incorporated herein by reference.

       40.     Section 4o(1) of the Act, 7 U.S.C. § 6o(1) (2006), in relevant part, makes it

unlawful for a CPO, by use of the mails or any means or instrumentality of interstate commerce,

directly or indirectly: (A) to employ any device, scheme, or artifice to defraud any participant;

or (B) to engage in any transaction, practice, or course of business that operates as a fraud or

deceit upon any participant.


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       41.     Since October 18, 2010, Mason acted as a CPO of both JHM and FTAH in that he

engaged in a business that is of the nature of an investment trust, syndicate, or similar form of

enterprise, and in connection therewith, solicited, accepted, or received funds, securities, or

property from others for the purpose of trading in commodities for future delivery on or subject

to the rules of any contract market.

       42.     Since October 18, 2010, Mason violated Section 4o(1)(A) and (B) of the Act, in

that, while acting as a CPO, he directly or indirectly employed a device, scheme, or artifice to

defraud pool participants and engaged in transactions, practices, or a course of business which

operated as a fraud or deceit upon pool participants by, inter alia, misappropriating pool

participants’ funds, misrepresenting the profits and risks of forex trading and that a system he

developed could generate guaranteed profits, and by failing to disclose his own criminal

conviction for wire fraud.

       43.     Mason engaged in such acts by use of the mails or other means or

instrumentalities of interstate commerce.

       44.     Each misappropriation of funds and each material misrepresentation or omission,

including, but not limited to, those specifically alleged herein, is alleged as a separate and

distinct violation of Section 4o(1)(A) and (B) of the Act.

                                            COUNT III

               Violations of Section 4m(1) of the Act and Regulation 5.3(a)(2)(i)
                                  Failure to Register as a CPO

       45.     Paragraphs 1 through 32 are realleged and incorporated herein by reference.

       46.     With certain exemptions and exclusions not applicable here, all CPOs are required

to be registered with the Commission, pursuant to Section 4m(1) of the Act, 7 U.S.C. § 6m(1)

(2006), and Regulation 5.3(a)(2)(i), 17 C.F.R. § 5.3(a)(2)(i) (2012). Section 4m(1) further makes


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it unlawful for any CPO to make use of the mails or other means or instrumentalities of interstate

commerce in connection with its CPO business unless registered with the Commission pursuant

to Section 4m(1) of the Act. Regulation 5.3(a)(2)(i), 17 C.F.R. § 5.3(a)(2)(i) (2012), required

CPOs trading forex to register with the Commission as of October 18, 2010.

       47.     Since October 18, 2010, Mason violated Section 4m(1) of the Act and Regulation

5.3(a)(2)(i), in that he acted as a CPO of both JHM and FTAH without the benefit of registration

with the Commission as a CPO, and in connection with his CPO businesses, made use of the

mails or other means or instrumentalities of interstate commerce.

       48.     Since October 18, 2010, each use of the mails or other means or instrumentalities

of interstate commerce in connection with Mason’s operation as a CPO without proper

registration, including, but not limited to, those specifically alleged herein, is alleged as a

separate and distinct violation of Section 4m(1) of the Act, 7 U.S.C. § 6m(1) (2006). Each day

that Mason failed to register as a CPO since October 18, 2010, is alleged as a separate and

distinct violation of Regulation 5.3(a)(2)(i), 17 C.F.R. § 5.3(a)(2(i) (2012).

                                    VII.    RELIEF REQUESTED

       WHEREFORE, the Commission respectfully requests that this Court, as authorized by

Section 6c of the Act, 7 U.S.C. § 13a-1 (2006), and pursuant to its own equitable powers:

       A.      Find Defendant liable for violating Section 4b(a)(2)(A) and (C) of the Act,

7 U.S.C. § 6b(a)(2)(A), (C) (Supp. II 2009) and Sections 4m(1) and 4o(1)(A) and (B) of the Act,

7 U.S.C. §§ 6m(1), and 6o(1)(A) and (B) (2006); and find Defendant liable for violating

Regulation 5.3(a)(2), 17 C.F.R. §5.3(a)(2) (2012).

       B.      Enter an ex parte statutory restraining order and an order of preliminary

injunction pursuant to Section 6c(a) of the Act 7 U.S.C. § 13a-1(a) (Supp. IV 2011), restraining



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Defendant and Relief Defendants and all persons insofar as they are acting in the capacity of

Defendant’s and/or Relief Defendants’ agents, servants, successors, employees, assigns, and

attorneys, and all persons insofar as they are acting in active concert or participation with

Defendant and Relief Defendants who receive actual notice of such order by personal service or

otherwise, from directly or indirectly:

               1.      destroying, mutilating, concealing, altering, or disposing of any books and

       records, documents, correspondence, brochures, manuals, electronically stored data, tape

       records, or other property of Defendant and/or Relief Defendants, wherever located,

       including all such records concerning Defendant’s and/or Relief Defendants’ business

       operations;

               2.      refusing to permit authorized representatives of the Commission to

       inspect, when and as requested, any books and records, documents, correspondence,

       brochures, manuals, electronically stored data, tape records, or other property of

       Defendant and/or Relief Defendants, wherever located, including all such records

       concerning Defendant’s and/or Relief Defendants’ business operations; and

               3.      withdrawing, transferring, removing, dissipating, concealing, or disposing

       of, in any manner, any funds, assets, or other property, wherever situated, including, but

       not limited to, all funds, personal property, money, or securities held in safes or safety

       deposit boxes and all funds on deposit in any financial institution, futures commission

       merchant, bank, credit union, or savings and loan account held by, under the actual or

       constructive control of, or in the name of Mason, JHM, or FTAH whether individually,

       jointly or otherwise;




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       C.      Enter an order directing that Defendant and Relief Defendants make an

accounting to the Court of all of Defendant’s and Relief Defendants’ assets and liabilities,

together with all funds Defendant and/or Relief Defendants received from and paid to pool

participants and other persons in connection with forex transactions, or purported forex

transactions, including the names, mailing addresses, email addresses, and telephone numbers of

any such persons from whom they received such funds from July 2010 to the date of such

accounting, and all disbursements for any purpose whatsoever of funds received from pool

participants, including salaries, commissions, fees, loans, and other disbursements of money and

property of any kind, from July 2010 to and including the date of such accounting;

       D.      Enter an order requiring Defendant and Relief Defendants immediately to identify

and provide an accounting for all assets and property that they currently maintain outside the

United States, including, but not limited to, all funds on deposit in any financial institution,

futures commission merchant, bank, or savings and loan account held by, under the actual or

constructive control of, or in the name of Mason, JHM or FTAH, whether jointly or otherwise,

and requiring them to repatriate all funds held in such accounts by paying them to the Registry of

the Court, or as otherwise ordered by the Court, for further disposition in this case;

       E.      Enter orders of preliminary and permanent injunction restraining Defendant and

all persons insofar as they are acting in the capacity of Defendant’s agents, servants, employees,

successors, assigns, and attorneys, and all persons insofar as they are acting in active concert or

participation with Defendant who receive actual notice of such order by personal service or

otherwise, from directly or indirectly:

               1.      engaging in conduct in violation of Sections 4b(a)(2)(A) and (C), 7 U.S.C.

       § 6b(a)(2)(A) and (C) (Supp. II 2009), Sections 4o(1)(A) and (B) and 4m(1) of the Act, 7



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U.S.C. §§ 6o(1)(A) and (B), and 6m(1) (2006), and Regulation 5.3(a)(2), 17 C.F.R. §

5.3(a)(2) (2012);

       2.      trading on or subject to the rules of any registered entity (as that term is

defined in Section 1a of the Act, 7 U.S.C. § 1a (Supp. IV 2011), including, but not

limited to, trading for themselves or others;

       3.      entering into any transactions involving commodity futures, options on

commodity futures, commodity options (as that term is defined in Regulation 1.3(hh),

17 C.F.R. § 1.3(hh) (2012)) (“commodity options”), security futures products, foreign

currency (as described in Sections 2(c)(2)(B) and 2(c)(2)(C)(i) of the Act, 7 U.S.C.

§§ 2(c)(2)(B) and 2(c)(2)(C)(i) (Supp. IV 2011)) (“forex contracts”) and/or swaps (as that

term is defined in Section 1a(47) of the Act, 7 U.S.C. § 1a(47) (Supp. IV 2011) for their

own personal account or for any account in which they have a direct or indirect interest;

       4.      having any commodity futures, options on commodity futures, commodity

options, security futures products, forex contracts and/or swaps traded on their behalf;

       5.      controlling or directing the trading for or on behalf of any other person or

entity, whether by power of attorney or otherwise, in any account involving commodity

futures, options on commodity futures, commodity options, security futures products,

forex contracts and/or swaps;

       6.      soliciting, receiving, or accepting any funds from any person for the

purpose of purchasing or selling any commodity futures, options on commodity futures,

commodity options, security futures products, forex contracts and/or swaps;

       7.      applying for registration or claiming exemption from registration with the

Commission in any capacity, and engaging in any activity requiring such registration or



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       exemption from registration with the Commission, except as provided for in Regulation

       4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2012); and

               8.      acting as a principal (as that term is defined in Regulation 3.1(a),

       17 C.F.R. § 3.1(a) (2012)), agent, or any other officer or employee of any person or entity

       registered, exempted from registration or required to be registered with the Commission,

       except as provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2012);

       F.      Enter an order requiring Defendant and Relief Defendants to disgorge to any

officer appointed or directed by the Court, or directly to pool participants, all benefits received,

including, but not limited to, salaries, commissions, loans, fees, revenues, and trading profits

derived, directly or indirectly, from acts or practices which constitute violations of the Act as

described herein, including pre-judgment and post-judgment interest;

       G.      Enter an order directing Defendant and Relief Defendants and any successors

thereof to rescind, pursuant to such procedures as the Court may order, all contracts and

agreements, whether implied or express, entered into between Defendant and/or Relief

Defendants and any of the pool participants whose funds were received by Defendant and/or

Relief Defendants as a result of the acts and practices which constitute violations of the Act as

described herein;

       H.      Enter an order requiring Defendant and Relief Defendants to restore to each pool

participant the full amount of his or her original investment;

       I.      Enter an order directing Defendant to pay a civil monetary penalty in the amount

of not more than the greater of: (1) triple the monetary gain to Defendant for each violation of

the Act; or (2) $140,000 for each violation of the Act, plus post-judgment interest;




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       J.     Enter an order requiring Defendant to pay costs and fees as permitted by

28 U.S.C. §§ 1920 and 2412(a)(2) (2006); and

       K.     Enter an order providing such other and further relief as this Court may deem

necessary and appropriate under the circumstances.

Dated: __March 27, 2013___                           Respectfully submitted,

                                                     /s/ Barry R. Blankfield
                                                     Barry Blankfield
                                                     Jennifer E. Smiley
                                                     Joseph A. Konizeski
                                                     Rosemary Hollinger
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